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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 BERTRUM JEAN, Individually and as the                  §
 surviving father of BOTHAM SHEM JEAN,                  §
 ALLISON A. JEAN, Individually and as the               §
 surviving mother of BOTHAM SHEM JEAN                   §
 and ALLISA E. FINDLEY as the                           §
 Administrator of the estate of BOTHAM                  §
 SHEM JEAN,                                             §
       Plaintiffs,                                      §
                                                        §
 VS.                                                    §       CIVIL ACTION NO. 3:18-cv-02862-M-BH

                                                        §
 THE CITY OF DALLAS, TEXAS AND                          §
 AMBER GUYGER,                                          §
     Defendants.                                        §

                                    NOTICE OF APPEARANCE

          To the Clerk of this Court and all parties of record:

          Please enter my appearance as counsel in this case representing Plaintiffs, BERTRUM

JEAN, Individually and as the surviving father of BOTHAM SHEM JEAN, ALLISON A.

JEAN, Individually and as the surviving mother of BOTHAM SHEM JEAN and ALLISA

E. FINDLEY as the Administrator of the estate of BOTHAM SHEM JEAN, as follows:

Benjamin L. Crump, Esq., BEN CRUMP LAW, PLLC, 122 South Calhoun Street, Tallahassee,

Florida      32301;    Telephone      (850)    224-2020;      Facsimile   (850)    224-2021;   Email:

court@bencrump.com and chris@bencrump.com.

          I certify that I am admitted to practice in this Court.



                                                         Respectfully submitted,


                                                            /s/ Benjamin L. Crump, Esq.
                                                         ________________________________
                                                         Benjamin L. Crump, Esquire
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                                       ben@bencrump.com
                                       Attorney for Plaintiff(s)
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                                CERTIFICATE OF SERVICE

I hereby certify that on January 30, 2019, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which shall send notification of such filing to all attorneys of
record.




                                                    /s/ Benjamin L. Crump, Esq.
                                                    ________________________________
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